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5     Attorneys for Creditor Ryan Drexler
6

7

8
                                 UNITED STATES BANKRUPTCY COURT
9
                                     FOR THE DISTRICT OF NEVADA
10

11   In re:                                              Case No. 22-14422-nmc

12   MP Reorganization,                                  Chapter 11
13

14
                     Debtor.                             Hearing Date: March 19, 2024
                                                         Hearing Time: 9:30 a.m.
15

16     DECLARATION OF STEVEN T. GUBNER IN SUPPORT OF BG LAW LLP’S MOTION
                 TO WITHDRAW AS COUNSEL FOR RYAN DREXLER
17

18            I, Steven T. Gubner, declare as follows:
19            1.     I am an attorney duly licensed to practice law in the state of Nevada and before the
20   United States Bankruptcy Court for the District of Nevada. I am the managing partner of BG Law
21   LLP (“BG”), counsel of record for Ryan Drexler (“Drexler”), creditor of chapter 11 debtor MP
22   Reorganization fka Musclepharm Corporation. The facts set forth herein are based upon my
23   personal knowledge, and, if called as a witness, I could and would testify competently thereto.
24            2.     I make this declaration in support of BG Law LLP’s Motion to Withdraw as Counsel
25   for Ryan Drexler (the “Motion”) filed concurrently herewith. All initial capitalized terms used
26   herein but not otherwise defined shall have the same meaning as ascribed to them in the Motion.
27            3.     There has been a breakdown of the attorney-client relationship between BG and
28   Drexler causing BG to be unable to effectively communicate with Drexler. While I do not believe


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1    the precise nature of the breakdown can be described without potentially violating the attorney-client

2    privilege or breaching client confidentiality, I am prepared to respond to any questions the Court

3    may have in camera, if necessary, subject to the limits imposed by case law.

4           4.      I believe that the breakdown in communication between BG and Drexler it has made

5    it unreasonably difficult for BG to carry out its employment effectively, and it is good cause for the

6    Court to authorize BG’s withdrawal. Additionally, despite repeated requests to bring his account

7    current, Drexler has failed to do so. As such, continued representation of Drexler will cause an

8    unreasonable financial burden on BG. Because of the current circumstances, it is no longer feasible

9    for BG to continue to represent Drexler in the Bankruptcy Case or Adversary Proceeding.

10          5.      I have taken reasonable steps to protect Drexler’s interests by informing Drexler of

11   BG’s intent to withdraw as counsel in the Bankruptcy Case and Adversary Proceeding. I informed

12   Drexler of his need to retain new counsel and of BG’s willingness to facilitate the transfer of

13   Drexler’s case file to new counsel. However, as of the date of filing the Motion, Drexler has not

14   identified new counsel. BG will continue to file pleadings on Drexler’s behalf and BG will continue

15   to represent Drexler at any hearings in the Bankruptcy Case and Adversary Proceeding until an order

16   is entered by the Court authorizing the withdrawal of BG as counsel.

17          6.      Accordingly, I do not believe that BG’s withdrawal will have a material adverse

18   effect on Drexler’s interests.

19          I declare under penalty of perjury under the laws of the United States of America that the

20   foregoing is true and correct.

21          Executed this 16th day of February 2024, at Las Vegas, Nevada.

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                                                   Steven T. Gubner
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1                                            CERTIFICATE OF SERVICE

2           On February 16, 2024, I served the following document(s) (specify):

3           DECLARATION OF STEVEN T. GUBNER IN SUPPORT OF BG LAW LLP’S MOTION TO
            WITHDRAW AS COUNSEL FOR RYAN DREXLER
4
            I served the above-named document(s) by the following means to the persons as listed below:
5
                    ECF System (You must attach the “Notice of Electronic Filing”, or list all persons and
6                   addresses and attach additional paper if necessary)

7           SEE ATTACHED

8
                    United States mail, postage fully prepaid (List persons and addresses.)
9
            Ryan Drexler
10          24604 Malibu Road
            Malibu, CA 90265
11

12                  Personal Service (List persons and addresses.)
                    I personally delivered the document(s) to the persons at these addresses:
13
                    By direct email (as opposed to through the ECF System)
14                  (List persons and email addresses.)
                    I caused the document(s) to be sent to the persons at the email addresses listed below. I did
15                  not receive, within a reasonable time after the transmission, any electronic message or other
                    indication that the transmission was unsuccessful.
16
                    By fax transmission (List persons and fax numbers.)
17                  I faxed the document(s) to the persons at the fax numbers listed below. No error was
                    reported by the fax machine that I used. A copy of the record of the fax transmission is
18                  attached.

19                  By messenger (List persons and addresses.)
                    I served the document(s) by placing them in an envelope or package addressed to the
20                  persons at the addresses listed below and providing them to a messenger for service. (A
                    declaration by the messenger must be attached to this Certificate of Service).
21
            I declare under penalty of perjury that the foregoing is true and correct.
22

23
     Signed on: February 16, 2024                      /s/ Abbie Au
24                                                     Abbie Au

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            I served the above-named document(s) by the following means to the persons as listed below:
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2                  addresses and attach additional paper if necessary)

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4           andersen.ryana.b117998@notify.bestcase.com
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